              Case 16-35977-KRH                    Doc 1        Filed 12/06/16 Entered 12/06/16 19:24:58                                Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Hyla
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        B
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Griffin
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5096
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Hyla B Griffin                                                                             Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 2838 Broad Rock Blvd., Apt. 7
                                 Richmond, VA 23224
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Richmond City
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Hyla B Griffin                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          So. Dist. of Georgia,
                                              District    Savanah Di.                   When     4/22/13                Case number      13-40580
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Hyla B Griffin                                                                                 Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Hyla B Griffin                                                                             Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Hyla B Griffin                                                                                Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Hyla B Griffin
                                 Hyla B Griffin                                                    Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     December 6, 2016                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Hyla B Griffin                                                                                 Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ David K. Spiro                                                 Date         December 6, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                David K. Spiro
                                Printed name

                                Spiro & Browne, PLC
                                Firm name

                                6802 Paragon Place
                                Suite 410
                                Richmond, VA 23230
                                Number, Street, City, State & ZIP Code

                                Contact phone     804-441-6080                               Email address         dspiro@sblawva.com
                                28152
                                Bar number & State




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                                               Certificate Number: 00134-VAE-CC-028446530


                                                              00134-VAE-CC-028446530




                    CERTIFICATE OF COUNSELING

I CERTIFY that on December 5, 2016, at 10:55 o'clock AM EST, Hyla Griffin
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the Eastern District of Virginia, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   December 5, 2016                       By:      /s/Ariana Martinez


                                               Name: Ariana Martinez


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                        Ability Recovery Service
                        1 Montage Mountain Rd Ste A
                        Moosic, PA 18507


                        Absolute Investment Group
                        8173 Old Hwy 21, Ste. 1
                        Port Wentworth, GA 31407


                        Ashworth College
                        c/o Ability Recovery
                        P.O. Box 4262
                        Scranton, PA 18505


                        AT&T
                        c/o Enhanced Recovery
                        8014 Bayberry Road
                        Jacksonville, FL 32256


                        BB&T
                        200 W. 2nd Street
                        Winston Salem, NC 27101


                        Ben Farmer School
                        c/o LCA Services
                        18 Park of Commerce Road
                        Savannah, GA 31405


                        Bronco Fed. C. Union
                        135 Stewart Drive
                        Franklin, VA 23851


                        Buddy's Home Furnishings
                        K&R RTO Ventures #414
                        866 U.S. 80
                        Pooler, GA 31322


                        Capella Univ.
                        c/o ERS, Inc.
                        P.O. Box 9088
                        Woodridge, IL 60517


                        Carfinsvces
                        59 Skyline Dr., Ste. 1700
                        Lake Mary, FL 32746
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                    Chandler Hospital
                    c/o Collectron
                    119 Southern Blvd.
                    Savannah, GA 31405


                    Citizen National
                    11407 Windsor Blvd.
                    Windsor, VA 23487


                    City of Franklin
                    P.O. Box 179
                    Franklin, VA 23851


                    City of Suffolk
                    P.O. Box 1583
                    Suffolk, VA 23439-1583


                    Colonial Finance
                    223 Broughton Street
                    Augusta, GA 31401


                    Cox Communications
                    c/o Credit Control Corp.
                    11821 Rock Landing Drive
                    Newport News, VA 23606


                    Credit Central GA-04
                    7088 Hodgson Memorial Drive
                    Savannah, GA 31406


                    Creditcentrl
                    7088 Hodgson Memorial Dr
                    Savannah, GA 31406


                    Dept Of Ed/Navient
                    Attn: Claims Dept
                    Po Box 9400
                    Wilkes Barr, PA 18773


                    Dept of Ed/Navient
                    Claims Dept
                    Po Box 9400
                    Wilkes-Barr, PA 18773
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                    Dept. of Education / Sallie Ma
                    P.O. Box 9635
                    Wilkes Barre, PA 18773


                    Effingham Health System
                    459 GA-119
                    Springfield, GA 31329


                    Exeter Finance Corp
                    Po Box 166008
                    Irving, TX 75016


                    First Premier Bank
                    601 S Minneaplois Ave
                    Dious FDalls, SD 57104


                    First Premier Bankcard
                    c/o Monarch Recovery
                    10965 Decatur Road
                    Philadelphia, PA 19154-3210


                    Geo Vista Credit Union
                    271 GA-21
                    Rincon, GA 31326


                    George Own Credit Union
                    c/o C.U. Recovery
                    26263 Forest Blvd.
                    Wyoming, MN 55092-8033


                    Georgia Dept. of Revenue
                    P.O. Box 6004
                    Rome, GA 30162


                    Georgia Emerg. Assoc.s
                    c/o PMAB, LLC
                    4135 Southstream Blvd., S. 400
                    Charlotte, NC 28217-4636


                    GMAC
                    c/o Firstpoint Collection Res
                    Roanoke, VA 24018
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                    Grand Furniture
                    3283 Western Branch Blvd.
                    Chesapeake, VA 23321


                    GRIHYL
                    c/o Stallings & Bischoff
                    P.O. 1687
                    Virginia Beach, VA 23451-4160


                    Hampton Center Apartments
                    6001 Terrell Lane
                    Hampton, VA 23666


                    Hampton City Treasurer
                    P.O. Box 3800
                    Hampton, VA 23663-3800


                    Langley Fed. Cr. Union
                    1055 W. Mercury Blvd.
                    Hampton, VA 23666


                    Law Off. of Darrell T. Johnson
                    P.O. Box 1125
                    Hardeeville, SC 29927-1125


                    Memorial Health Univ. Med.
                    c/o Mitchell Bluhm Law Office
                    2222 Texoma Pkwy, Ste 160
                    Sherman, TX 75090


                    Mid Atlantic Finance
                    4592 Ulmerton Rd Ste 200
                    Clearwater, FL 33762


                    Navient
                    Attn: Bankruptcy
                    Po Box 9500
                    Wilkes-Barr, PA 18773


                    Navy Federal Credit Union
                    P.O. Box 3000
                    Merrifield, VA 22119-3000
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                    Nmac
                    Po Box 660360
                    Dallas, TX 75266


                    Optimum Outcomes, Inc
                    2651 Warrenville Rd Ste 500
                    Suite 400
                    Downers Grove, IL 60515


                    Paul Camp Commun. College
                    c/o Transworld Systems
                    P.O. Box 15109
                    Wilmington, DE 19850-5618


                    Penn Foster
                    925 Oak Street
                    Scranton, PA 18515


                    People's Bank
                    P.O. Box 1750
                    Paris, TX 75461


                    Ray's Auto Sales
                    119 W. 4th Ave.
                    Franklin, VA 23851


                    Rgs Financial
                    1700 Jay Ell Dr Ste 200 Ste
                    Richardson, TX 75081


                    Rock Creek, L.C.
                    2830 Broad Rock Blvd., #04
                    Richmond, VA 23224


                    S C Electric & Gas
                    I-26
                    Columbia, SC 29218


                    Sallie Mae
                    Attn: Navient
                    Po Box 9500
                    Wilkes-Barr, PA 18873
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                    SCE&G
                    P.O. Box 100255
                    Columbia, SC 29202


                    Security Finance
                    Centralized Bankruptcy
                    Po Box 1893
                    Spartanburg, SC 29304


                    Security Financial
                    210 E. Main St.
                    Spartanburg, SC 29304


                    Sentara Healthcare
                    c/o Optimum Outcomes
                    4524 Southlake Ln
                    Hoover, AL 35244


                    Southhampton County Treasurer
                    P.O. Box 8
                    Courtland, VA 23837


                    Sprint
                    c/o I.C. Systems
                    P.O. Box 64378
                    Saint Paul, MN 55164


                    Sprint
                    c/o West Asset Mgt.
                    7171 Mercy Road
                    Omaha, NE 68106


                    Suntrust Bank
                    c/o Associated Credit Services
                    P.O. Box 5171
                    Westborough, MA 01581-5171


                    USCB Corp.
                    P.O. Box 75
                    Archbald, PA 18403


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